Case 2:09-cv-02089-STA-dkv Document 28 Filed 08/10/09 Page 1 of 2                       PageID 154



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

______________________________________________________________________________

NATIONWIDE MUTUAL FIRE                    )
INSURANCE COMPANY,                        )
                                          )
                        Plaintiff,        )
v.                                        )     No. 09-2089-STA-dkv
                                          )
LAWRENCE NORTON, and AURORA               )
LOAN SERVICES, LLC and GMAC               )
MORTGAGE, LLC,                            )
                                          )
                        Defendants.       )
______________________________________________________________________________

 ORDER DISMISSING PLAINTIFF’S CLAIMS AGAINST DEFENDANT LAWRENCE
                               NORTON ONLY
______________________________________________________________________________

       Before the Court is Plaintiff’s Notice of Voluntary Dismissal (D.E. # 27) filed on August

7, 2009. Fed. R. Civ. P. 41(a)(1)(i) permits an action to “be dismissed by the plaintiff without

order of court by filing a notice of dismissal at any time before service by the adverse party of

an answer or of a motion for summary judgment, whichever first occurs.” In this case, Defendant

Lawrence Norton had not filed an answer or motion for summary judgment. Therefore,

Plaintiff’s Notice of Voluntary Dismissal operates as a dismissal of Plaintiff’s claims as to that

Defendant.

       On the other hand, Defendants Aurora Loan Services, LLC (“Aurora Loan”) and GMAC

Mortgage, LLC (“GMAC Mortgage”) had filed separate answers to Plaintiff’s Complaint.

Therefore, voluntary dismissal by filing a notice of dismissal is no longer available to Plaintiff as



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Case 2:09-cv-02089-STA-dkv Document 28 Filed 08/10/09 Page 2 of 2                       PageID 155



to these two defendants. Rule 41(a)(1)(ii) does permit a plaintiff to file a “stipulation of

dismissal signed by all parties who have appeared in the action.” With respect to Aurora Loan

and/or GMAC Mortgage, Plaintiff must file a Stipulation of Dismissal or alternatively a Motion

for Voluntary Dismissal pursuant to Rule 41(a)(2). Therefore, Plaintiff’s Notice of Dismissal has

no effect on its claims against Aurora Loan and GMAC Mortgage.

       IT IS SO ORDERED.
                                               s/ S. Thomas Anderson
                                               S. THOMAS ANDERSON
                                               UNITED STATES DISTRICT JUDGE

                                               Date: August 10, 2009




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